Case 1:18-cv-00100-AJN Document1-2 Filed 01/05/18 Page 1 of 36

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.|| Appear of answer, judgment will be taken against you by default for the-relicf demanded in the

|| DATED: New York, New York

YORK COUNTY

1

SUPREME COURT OF THE STATE OF NEW YORK Index No.
COUNTY OF NEW YORK eee:
: INEREON Plaintiff designates New York
TOSH HENDERSON, County as the place of trial
Plaintiff, The basis of the venue is
as Defendant's place of business
-against-
ORDA MANAGEMENT CORPORATION, SUMMONS
225 FOURTH LLC, FACEBOOK, ING., and Dintntif? mectdec
Be aN TOT ere ANT A ME LEI Tn Plaintiff resides at.
JRM CONSTRUCTION MANAGEMENT, LEC, 340 Forrest St, -
Defendants. Jersey City, NJ.07304
: . --k

TO THE ABOVE NAMED DEFENDANT(S):

¥OU ARE HEREBY SUMMONED to answer the Complaint in this-action and to serve
a copy of your Answer, or, if the Complaint is not served with this. summons, to serve-a notice of
‘appearance, on the plaintiff's attorneys within 20 days after the:service of this summons,
exclusive of the day of service (or within 30 days after the service is complete if this summons is
not personally delivered te you within the State of New York); and in case of your failure to

Complaint.

August 11, 2017

‘Defendant's Address: LIPSIG, SHAPEY, MANUS & MOVERMAN, P.C.
ORDA MANAGEMENT
CORPORATION. as
c/o Secretary of State By” 4 Et Shodt

a AS@ AMOVERMAN
223 FOURTH LLC Attormeys§ir Plaintiff
c/o Secretary of State Office and P.O, Address.
RON Tic 40 Fulton Street.
EACEBOOK. Ic. New Yor, NY 10038

~ (212) 285-3300

JRM CONSTRUCTION
MANAGEMENT, LEC
c/o Secretary of State

RECEIVED NYSCEF: 08/15/2017
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SUPREME COURT OF THE STATE.OF NEW YORK

COUNTY OF NEW YORK
POOR ER Vere ee eee ee
TOSH HENDERSON,

Plaintiff,

_ VERIFIED.
-against- COMPLAINT

ORDA MANAGEMENT CORPORATION, 225
FOURTH LLC, FACEBOOK, ING., and JRM
CONSTRUCTION MANAGEMENT, LLE,

Defendants.
EE EE A GA EE OE A Gh ea han ee ae at pct nga is wey,

Plaintiff, by his attorneys, LIPSIG, SHAPEY, MANUS & MOVERMAN,

P.C., complaining of the.defendants, states the following upon information and

belief,.as to all times relevant héreto:

FIRST CAUSE OF ACTION
1. Defendant ORDA MANAGEMENT CORPORATION (hereinafter

“ORDA ") was and is a domestic business corporation duly organized and existing
by virtue of the: laws-of the State of New York.

2. Defendant ORDA was and is a domestic business corporation that

conducts business in the State of New York.

3. Defendant 225 FOURTH LLC was and is-a foreign limited liability

‘company duly organized and existing by virtue of the laws of the State of Delaware.

4. Defendant 225 FOURTH LLC was and is a foreign limited liability

company that conducts business in the State of New York.

5. Defendant 225 FOURTH LLC was and is a foreign limited liability
company that designated New York County as its place of business in New York

State.

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6.

is a domestic: business corporation duly organized-and existing by virtue of the laws

of the State of New York.

7.

| that conducts. business in the State of New York.

8,

(hereinafter “JRM CONSTRUCTION”) was and is a domestic. limited liability ,

company duly organized and existing by virtue of the laws of the State of New

York.
YQ.

liability company that conducts business in the State of New York.
TQ,
{| York, is a commercial building (hereinafter referred to as-"the premises”).
LL.
12.
13.
14,
15.
16.
17.
renovation work onthe premises.
18.
| premises.
19.

premises:

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Defendant FACEBOOK, INC. (hereinafter “FACEBOOK”) was and

Defendant FACEBOOK was and isa foreign. business corporation

Defendant JRM CONSTRUCTION MANAGEMENT, LLC

Defendant JRM CONSTRUCTION was and isa domestic limited

The building located at 233 Park Avenie South, New York, New

On and before January 3, 2017, ORDA owned the premises.

On and before January 3, 2017, ORDA operated the premises.

On and before January 3, 2017, ORDA maintained the premises.

On and before January: 3, 2017, ORDA managed the premises.

On and before January 3, 2017, ORDA supervised the premises.

On and before January 3, 2017, ORDA controlled the. premises.

On and before January 3, 2017, ORDA was the general contractor for

On and before January 3, 2017, 225 FOURTH LLC owned the

On and before January 3, 2017, 225 FOURTH LLC operated the

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20.

premises.
21.

premises.
22.
premises.
23.
premises.
24.
contractor for renovation work on the premises.
25. On and before January 3, 2017, FACEBOOK owned the premises,
26.
premisés.
27.
premises that was.renovating the 17“, 18" and t9™ floors.
28.
|| and its floors that.were under renovation.
29.
premises and its floors that were under renovation.
30.
and its floors that were under renovation.
34.
and its floors that were under renovation.
32,

{-and its floors that were undet renovation.

On and before January 3, 2017,.225 FOURTH LLC managed the

On. and before January 3, 2017, FACEBOOK was-a tenant in the

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On and before January 3, 2017, 225 FOURTH LLC maintained the

On and before January 3,.2017, 225 FOURTH LLC supervised the

On and before January 3, 2017, 225 FOURTH LLC controlled the

On and before January 3, 2017, 225 FOURTH LLC was the general

On and before January 3, 2017, FACEBOOK was a: tenant in:the

On and before January 3, 2017, FACEBOOK opérated the premises
On and before January 3, 201 7, FACEBOOK maintained the

On and before January 3, 2017, FACEBOOK managed the premises
On and before January 3, 2017, FACEBOOK supervised the premises

On and before January 3, 2017, FACEBOOK controlled the premises

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|| the premises and its floors that were under renovation.

the premisés and its floors that were under renovation.

general contractor on the premises and its floors that were under renovation.

USIS) to perform construction, renovation, electrical data witing, demolition,

perform construction, renovation, electrical data witing, demolition, tepait and/or

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33. Onand before January 3, 2017, FACEBOOK was the -géneral
contractor on the premises and its floors that were under renovation.

34. On and before January 3, 2017, JRM CONSTRUCTION owned the
premises.

35. On and before January 3, 2017, JRM CONSTRUCTION was a
tenant in the premises.

36. Onand before January 3, 2017, JRM CONSTRUCTION was a
tenant in thé preimisés. that was renovating the 17", 18" and £9" floors.

37. On and before January 3, 2017, JRM CONSTRUCTION operated
the premises and its floors that were'under renovation.

38. On and before January 3, 2017, JRM CONSTRUCTION maintained .

39. On and before January 3, 2017, JRM CONSTRUCTION managed

40. On and before January 3, 2017,.JRM CONSTRUCTION supervised
the premises and its floors that weré under renovation.

41. On and before January 3, 2017, JRM CONSTRUCTION controlled.
the premises and its floors that were under renovation.

42. Onand before January 3, 2017, JRM CONSTRUCTION was the

43. On and before January 3, 2017, ORDA retained USIS (hereinafter.

repair and/or alteration work on the.premises.

44, On and before January:3, 2017, 225 FOURTH LLC retained USIS to

alteration work on the premises.

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45. On and before January 3, 2017, FACEBOOK retrained USIS to

perform construction, renovation, electrical data wiring, demolition, repair and/or

alteration work on the premises.

46. On atid before January 3, 2017, JRM CONSTRUCTION tetained
USIS to. perform construction, renovation, électrical data wiring, demolition, repair
and/or alteration work onthe premises.

47, Orvand before January 3,.2017, USIS was hired to ‘perform
construction, renovation, electrical-data witing, demolition, repair:and/or
alteration work.on the premises.

48. On and before January 3, 201 7, USIS performed construction,

renovation, électrical data wiring, demolition, repair-and/or alteration work on the

‘_premuses..

49. On January 3, 2017, TOSH HENDERSON was performing
construction, refiovation, electrical data wiring, demolition, repair, and/or
alteration work on the premises, as-an employee of USIS.

50. On January 3, 2017, defendants controlled, supervised and directed

the ongoirig construction, renovation, electrical data. wiring, demolition, repair,

and/or alteration work on the premises including the work preformed by plaintiff

|, TOSH HENDERSON.

51. On January 3, 2017, while plaintiff TOSH HENDERSON was
pérforming construction, renovation, electrical data witing; demolition, repair,
cleaning and/ or alteration work at the defendants’ premises, he was working at an

elevated work location.

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52. On January 3; 2017, while plaintiff TOSH HENDERSON was
performing construction; renovation, electrical data witing, demolition, repair,
cleaning and/ ot alteration work at the premises, he was working at an elevated
work location while working upon a ladder,

53. On January 3, 2017, while plaintiff TOSH HENDERSON was

performing construction, renovation, electrical data wiring, deinolition, repair,
‘cleaning and/ or altetation work at-the premises, he was working at an elevated
work location upon a ladder that was unsecured, dangérous and defective.

54. On January 3, 2017, while plaintiff TOSH HENDERSON was

performing construction, renovation, electrical data wiring, detnolition, repair,
cleaning and/ or alteration. work at the premises, he was working at an elevated
work location upon.a ladder-:that was not braced, secured, or tied off.

55: On January 3,.2017, while plaintiff TOSH HENDERSON was

. performing construction, renovation, electrical data wiring, demolition, repair,
|-cleaning and/ or alteration work atthe premises, he was working at.an elevated.
|, work location upon a ladder that was not cons tructed, placed and operated as to.
give proper protection toa person so employed.

56. On January 3, 2017, while plaintiff TOSH HENDERSON was
performing construction, renovation, electrical data wiring, demolition, repair,
cléaning and/ or alteration work at the premises, defendants failed to furnish.or
erect, or cause to be furnished or erected for the performance of such labor, such
scaffolds; ladders-or other devices which shall be so constructed, placed and
I operated as to give proper protection to a person so employed, including plaintiff.
57. On January 3; 2017, while plaintiff TOSH HENDERSON was

performing construction, renovation, électrical data wiring, demolition, repair,

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cleaning and/or alteration work at the premises, he was caused to fall from the

jtelevated work location:

58. On January 3, 2017, while plaintiff TOSH HENDERSON was

performing construction, renovation, electrical data wiring, demolition, tepair,
cleaning and/ or alteration work.at the premisés, he was caused to fall and become
injured when. the defective and unsecured ladder fell.

59. Plaintiff TOSH HENDERSON was injured.

60. Plaintiff TOSH HENDERSON was seriously injured.

61. The injuries:and/or seriotis injuries sustained by plaintiff were due to
the negligence of the defendants, their-violation of $200,240 and 241 (6) of the
Labor Law of the State of New York, and/or their-failure to provide, erect and
furnish plaintiff with appropriate safety devices for his work at.an elevated work
location.

62. On January 3, 2017, while: plaintiff TOSH HENDERSON was
performing construction, renovation, electrical data wiring, demolition, repair,
cleaning and/or alteration work at the premises, he was caused to fall from the
elevated work location due to the defendants’ failure ta provide a safe and secure
ladder for his work at an elevated work location.

63. ‘The limitations on liability set forth in CPLR Section 1601 do not
apply to this action.

64. The limitations on liability set‘forth in CPLR Section 1601 do not.
apply to this action by reason of oné.or more of the exemiptions-set forth in CPLR
Section 1602, specifically including but not limited to Section 1602. (8), 1602 (4),
1602 (7) and 1602 (2).

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[Lin this Complaint; as though fully set forth at length herein.

‘furnished or erected, for the performance of plaintiff's labor,-scaffoldirig, ramps,

protection to TOSH HENDERSON.

the State of New York and Rule 23 of the Industrial Code of the State of New

‘the Industrial Code and OSHA regulations were substantial factors in causing this

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65. Asa result of the foregoing, plaintiff has been damaged in-an amount
in excess of the jurisdictional limits of all lower courts in which this matter might
otherwise have been, brought.

SECOND CAUSE OF ACTION

66: Plaintiff repeats and reaileges all the preceding allegations contained
67. On January 3, 2017, defendants failed furnish or erect or cause to-be:

hoists, stays, ladders, slings, hangers, blocks, pulleys, braces, irons, ropes and other

devices, which were so constructed, placed.and: operated as to give proper
68. Defendants violated of $§ 200, 240(1) and’241 (6) the Labor Law of

York, including but-not limited to 12 NYCRR §§23-1.2(a)3323-1.7(b); 23-1.15);
23-1.16; 23-1.17; 23-121 (a-f);-23-1.22; 23-2, 1 (a); 23-5.1; 23-5. 1b); 23-5. 1 (c);
23-5.1(f); 23-5.14) (1); 23-5.3; 23-5.4 and 23-5.5and OSHA regulations.

69. The deféndants' violation of the above sections of the Labor Law and

occurrence.

70. The defendants’ violation of the above sections of the Labor Law and
the Industrial Code and OSHA regulations wete substantial factors in causing
plaintiff to fall from an elevated work location and become injured,

71. Plaintiff TOSH HENDERSON was injured.

72. Plaintiff TOSH HENDERSON was seriously injured.

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li the negligence, carelessness, recklessness‘and violations of $$ 200, 240 and 241 (6)

‘apply to this action.

damaged in an amount in excess of the jurisdictional limits of all lower courts in

|| which this matter might otherwise have been brought.

causing, permitting and allowing dangerous, and defective conditions to exist which

were substantial factors-‘in causing plaintiff TOSH HENDERSON to fall while.

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73. The injuries and/or serious injuries sustained by plaintiff were due to

of the Labor Law, by the defendants, their agents, servants and/or employees.
74. As a result of the foregoing, defendants are liable or strictly liable to
plaintiff TOSH HENDERSON for his injuries.
75. °The limitations on Liability set forth in CPLR Section 1601 do not

76. The limitations on liability set forth in CPLR Section 1601 do not
apply to this action by reason of oné or more of the exemptions set forth in CPLR
Section 1602, specifically including but not limited to Section 1602 (8), 1602 (4),
1602 (7) and 1602 (2).

77. .As-a-result of the foregoing, plaintiff TOSH HENDERSON has been

THIRD CAUSE OF ACTION

78. Plaintiff repeats-and tealleges each of the preceding allegations:of this
Complaint as set forth at length hereifi.

79. Defendants controlled :supetvised the ongoing construction,
renovation, alteration and repait which was being performed at. the premises.

80. Defendants were negligent in failiiig to exercise proper supervisory

control of the construction, electrical data wiring, and the work site and in

working upon a ladder at the construction ‘site.

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|| apply to this action.

which this matter might otherwise have been brought.

ladders, slings, hangers, blocks, pullies, braces, irons, ropes or other devices and

|| failed to see-to it that such equipmerit and/or devices were so constructed, placed,

RECEIVED NYSCEF: 08/15/2017

81. Plaintiff TOSH HENDERSON was injured.

82. Plaintiff TOSH HENDERSON was setiously injured.

83. The injuries and/or serious injuries sustained by plaintiff were due to
the negligence, carelessness and recklessriess of the defendants, their agents,
servants and/or.employees.

84. The’ limitations. on liability set forth in CPLR Section 1601 do not

85. The limitations on liability set forth in CPLR-Section 1601 do not

apply to this action by reason of one.or mote of the exemptions set forth in CPLR
Section 1602, specifically including but not limited to Section 1602 (8), 1602 (4),
1602 (7) and 1602 (2).

86. Asaresult.of the foregoing, plaintiff TOSH HENDERSON has been

damaged in an amount in excess of the jurisdictional limits of all lower courts in

FOURTH CAUSE OF ACTION

87. Plaintiff repeats: and realleges each of the preceding allegations of this
Complaint as set forth at length herein.
88. Defendants and their agents failed to furnish or erect,-or cause to be

furnished or erected for the performance of plaintiff's: labor, scaffolding, hoist, stays, .

operated and maintained as to give proper protection to: plaintiff.

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89. Defendants’ failure to see to it that such equipment and devices wefe
$0 constructed, placed, operated and maintained as to give proper to plaintiff
TOSH HENDERSON was a substantial factor ini causing this occurrence.

90. Plaintiff TOSH HENDERSON was injured.

91. Plaintiff TOSH HENDERSON was seriously injured..

92. The injuries:and/or serious injuries sustained by plaintiff were due to
the négligence, catelessness and recklessness of the defendants, their agents,
servants and/or employees.

93. Asa tesult of the foregoing, defendants are. liable or strictly liable to
plaintiff TOSH HENDERSON for his ‘injuries.

94. The limitations on liability set forth in CPLR Section 1601, do not

apply to this action,

95. The limitations on liability set forth in CPLR Section 1601 do not

apply to this action-by reason of one or mote of the exemptions set forth in CPLR

Section 1602, specifically including but not limited to Section 1602 (8}, 1602 (4),
1602 (7) and, 1602 (2).
96. Asa result of the foregoing, plaintiff TOSH HENDERSON has been

damaged in an amount-in excess of the jurisdictional limits. of all lower courts in

which this mattér might othetwise have been brought.

WHEREFORE, plaintiff TOSH HENDERSON demands judgment against
the defendants on the First, Second, Third and Fourth Causes of Action in an
amount in excess of the jurisdictional limits of all lower courts in which this matter
might otherwise have been brought, with interest from the date.of the occurrence,

together with the costs-and disbursements of this action.

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WHEREFORE, plaintiff demands judgment against the defendants in an
amount in excess of the jurisdictional limits of all lower courts in which this matter

might otherwise have been brought.

DATED: New York, New York

August 11, 2017
Yours, ete.,

LIPSIG, SHAPEY, MANUS & MOVERMAN, P.C.

Attorn Os 3 for Plaintiff

40 Fulton Street - 25" Floor
New. York, NY 10038

(212) 285-3300

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THOMAS J. MOVERMAN, an attorney duly admitted to practice law in

the State. of New York, affirms the following under the penalties of perjury:

I'am:a member.of the firm of LIPSIG, SHAPEY, MANUS & MOVERMAN,.

| P.C., attorneys for the plaintiff,

[have read the foregoing Complaint and know the contents thereof. I
believe the matters therein alleged to be true.

The reason this Verification is being made by me, and not by plaintiff, is that
the plaintiff resides in a county other than the one in which this firm maintains its
offices.

The source of my information and the grounds of my belief.are the
communications, papers, reports and, investigations contained in the firm's file.

DATED: New York, New York
August 11, 2017

1. MOVERMAN

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xSP G3674\PRM/ow\ Ansel

SUPREME COURT OF THE STATE OF NEW YORK

COUNTY OF NEW YORK
TOSH HENDERSON, Oo
Plaintiffs), Index No.:°157305/2017
VERIFIED ANSWER TO
~ against - VERIFIED COMPLAINT
ORDA MANAGEMENT CORPORATION,
225. FOURTH LLC, FACEBOOK, INC., and
JRM CONSTRUCTION MANAGEMENT, LLC,
Defendant(s).
vm . “Xt

Defendant, IRM CONSTRUCTION MANAGERS LLC s/h/a IRM. CONSTRUCTION
MANAGEMENT, LLC, through its attotneys, BARRY McTIERNAN & MOORE'LLG,

answering plaintiff's Verified Complaint, states as follows:

ANSWERING THE FIRST CAUSE OF ACTION
FIRST: | Denies. any knowledge or information sufficient to. form a belief as to the
allegations coritained in paragraphs nitimbered “E7, “on eae AP ES GP LO HTD 12
LQ 4 15%, STO", 17, S18", S19", "20", 21", 622", #237 9d 8257 IG" 27 “28 99",
#30", “34, #92", 33", “43%, “4d”, “45”, “4B”, “49%, “51”, «52, “57”, “59” and “60” of the

Verified Complaint.

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SECOND: Admits each.and every allegation contained in paragraphs numbered “8” and.

“Q” of the Verified Complaint.

THIRD: Denies each and evéry allegation.contairied in pardgraphs numbered*34”,
$3577, 36" 37", 38", 397, “40, “417, “42, “507, 65377, “54, 557, 56", 58", “61, 62”, “63”,
“64” and “65” of the Verified Complaint.

FOURTH: —Denies-each and every allegation contained in paragraphs numbered “46”
and “47” of the Verified Complaint except to admit that TRM CONSTRUCTION MANAGERS
LLC:s/b/a IRM CONSTRUCTION MANAGEMENT, LLC, zetained USIS to. perform work

‘thereat,

ANSWERING: THE SECOND CAUSE OF ACTION

FIFTH: Answering paragraph numbered “66” of the Verified Complaint, the
defendant IRM CONSTRUCTION MANAGERS LLC repeats, reiterates-arid-realleges each and
every resporise contained in this Verified Answer.

SIXTH: Denies each.and every allegation contained in paragraphs numbered “67”,.
68", “69”, 70", °73”, “74°, 75", “76” and “77” of the Verified Complaint.

SEVENTH: Denies any. knowledge or information sufficientto form a belief as to-the

allegations contained in paragraphs.numbered “71” and “72” of the Verified Complaint.

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ANSWERING THE THIRD CAUSE OF ACTION

EIGHTH: Answering paragraph numbered :“78” the. Verified. Comp laint, the defendant
JIRM CONSTRUCTION MANAGERS, LLC repeats, reiterates.and realleges each ahd every
response contained in this Verified Answer.

NINTH: Denies each and-every allegation contained in paragraphs numbered “79”,
“80”, “83”, “84, “85” and “86” of the Verified Complaint.

TENTH: Denies any knowledge or inforniation sufficient to‘fotm a belief as.to the

allegations contained in paragraphs nunibered “81” and“82” of the Verified Complaint.

ANSWERING THE. FOURTH CAUSE OF ACTION

ELEVENTH: Answering paragraph nuinbered “87” the Verified Complaint, the
defendant IRM CONSTRUCTION MANAGERS, LLC repeats, reiterates and realleges each and
every response.contained in this Verified Answer.

TWELFTH: Denies each and every allegation contained in: paragraphs numbered
“38”, “89”, “92”, “93”, 94”, “95” and “96” of the Verified Complaint.

THIRTEENTH: Denies-any knowledge or information sufficient to form a belief as‘to

the allegations contained in paragraphs numbered “90” and “91” of the Verified Complaint.

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D7

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AS AND FOR.A FIRST SEPARATE AFFIRMATIVE
AND COMPLETE DEFENSE; THE DEFENDANT;
JRM CONSTRUCTION MANAGERS, LLG,
ALLEGES UPON INFORMATION AND BELIEF’
AS FOLLOWS:

FOURTEENTH: The personal injuries alleged to have been sustained by the-plaintiff
were caused entirely or in-part as a result of the culpable conduct attributable ta plaintiff, and the
defendant, IRM CONSTRUCTION MANAGERS, LLC, seeks a dismissal or reduction. of any
recovery: had by plaintiff in the proportion which the culpable conduct attributable to the plaintiff
bearxs.to the culpable conduct which caused the damages,

AS AND.FOR A SECOND SEPARATE AFFIRMATIVE
AND COMPLETE DEFENSE; THE DEFENDANT,
IRM CONSTRUCTION MANAGERS, LLC,

ALLEGES UPON INFORMATION AND BELIEF
AS FOLLOWS:

FIFTEENTH: That the defendant, JRM CONSTRUCTION MANAGERS, LLC,

asserts the terms, provisions, limitations and rights afforded under §4545 of the CPLR.

AS AND FOR A THIRD SEPARATE.AFFIRMATIVE
AND COMPLETE DEFENSE; THE DEFENDANT,
IRM CONSTRUCTION MANAGERS, LLC,
ALLEGES UPON INFORMATION AND BELIEF
AS:FOLLOWS::

SIXTEENTH: Pursuant to CPLR. §1603, the defendant, JRM:-CONSTRUCTION
MANAGERS, LLC, asserts the terms, provisions, limitations and rights afforded under

CPLR §§1601.and 1602.

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AS AND FOR A FOURTH SEPARATE AFFIRMATIVE
AND COMPLETE DEFENSE; THE DEFENDANT,
IRM CONSTRUCTION MANAGERS, LLC,

ALLEGES UPON INFORMATION AND BELIEF

AS FOLLOWS:

SEVENTEENTH: That plaintiff's own conduct was a sole proximate caus¢ of his
accident and thus the defendant, FRM CONSTRUCTION MANAGERS, LLC, is not liable under

the provisions of the labor law,

WHEREFORE, the defendant, JRM CONSTRUCTION MANAGERS, LLC, demands
judgment dismissing the Verified Complaint of the plaintiff herein as-io said defendant, together

with the costs, fees, expenses and disbursements. of this action.

Dated: New York, New York
October.3, 2017

ROGER P.. McTIERNAN, ESQ.

BARRY M¢cTIERNAN & MOORE LLC
Attorneys for Defendant .
JRM CONSTRUCTION MANAGERS LLC s/h/a-
I RM CONSTRUCTION MANAGEMENT, LLC
Office & P.O. Address

2 Rector Street - 14th Floor

New York, New York 10006

(212) 313-3600

3 Of 31

FIL WN. TY E 1
NYSCER DOC, NO: 8
TO;

Thomas J. Moverman, Esq. .
LIPSIG, SHAPEY, MANUS & MOVERMAN, PC
Attomeys for Plaintiff

Office. and PO Address

40 Fulton Street

New York, NY 10038

212.285-3300

Unknown Representatives and/or Business Addresses:

ORDA MANAGEMENT CORPORATION
225 FOURTH LLC
FACEBOOK, INC.

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Page 24,0%36n0, 157305/2bi7
RECEIVED NYSCEF: 10/04/2017

STATE OF NEW YORK jy _
:SS.:
COUNTY OF NEW YORK )

ROGER P. McTIERNAN JR., being duly sworn, deposes and says: That he is.an
attormey.at law, and a member of the firm of BARRY McTIERNAN & MOORE LLC, attorneys
for the defendant, JRM CONSTRUCTION MANAGERS LUC: s/h/a IRM CONSTRUCTION
MANAGEMENT, LLC, having an office at 2 Rector Street, New York, New York,

That he has read arid’knows the contents of the foregoing Verified Answer to
Verified Complaint, and. that the same is trué.to his knowledge. Deponent further says that the.

sources of his information and the grounds of his belief as to-all mattets therein not.stated upon

his knowledge are based on materials, investigation, reports and documents contained in the file

as maintained in-deponent's ue

ROGER P. McTIBRNAN, ESO.

Sworn to before me this
3rd day. of October, 2017

NOTARY PUB
TRICIA BARROW
NOTARY PUBLIC-STATE OF NEW YORK.
No..G7BA6350684 .
‘Qualified In Queens.County
My Commission Expires 11-14-2020

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SUPREME COURT. OF THE.STATE OF NEW YORK

COUNTY OF NEW YORK
= oeanee ~a- == x Index No.: 157305/2017E
TOSH HENDERSON, :
Plaintiff,
-against- : VERIFIED ANSWER WITH

‘CROSS CLAIMS

ORDA. MANAGEMENT CORPORATION, 225
FOURTH, LLC, FACEBOOK, INC., and IRM
CONSTRUCTION MANAGEMENT; LLC

Defendant.

x

Defendant, FACEBOOK, INC., by its attorneys, LEWIS BRISBOIS BISGAARD &
SMITH, LLP, as and fot their Verified Answer to plaintiff's Verified Complaint, upon
information and belief, alleges:

AS AND FOR AN ANSWER TO
THE FIRST CAUSE OF ACTION

L. Defendant denies knowledge or information sufficientto forma belief as to‘the truth
of the allegations contained in paragraphs “1”, “2”, “3”, "4", 5”, “8, 9", “10, “11°, “12°, «13%,
“LA? 157,167, 17, “18”, $19", 8207, “21, $22", “23°, “24”, “267, 277, “287, “298307 8317
832%, $34r 3597 3G, 37 38,39" 40") “41, 42", “43, dg “46” 47" 4g “Agr <5]
#59" 54", “57°, “59” and “60” of the Verified Complaint.

2. Defendant denies each.and every allegation contained in paragraphs “6”, “257,33”,
“45” and “58” of the Verified Complaint.

3. Defendant admits the truth of the allegations contained in paragraph “7” of the

Verified Complaint.

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4, Defendant denies each and every allegation contained in‘paragraph “50” of the
Verified Complaint as alleged-against defendant, FACEBOOK, INC., and denies knowledge or
information sufficient to form a belief as to'the ttuth of the allegations alleged against.co-defendants,
ORDA MANAGEMENT CORPORATION, 225 FOURTH LLC and JRM CONSTRUCTION
MANAGEMENT, LLC and respectfully refers all questions of law to the Court.

5. Defendant denies each aid every allegation containéd in paragraphs “53”, “55”, “63”,
“64° and “65” of the Verified Complaint and respectfully refers all questions of law to. this
Honorable Court for its determination.

6. Defendant denies each atid‘every allegation contained in paragraph “56”, “617” and
“62” of the’ Verified Complaint as alleged against defendant, FACEBOOK, ING., and denies
knowledge or.information sufficient to form a belief as to.the truth of the allegations alleged against
co-defendants, ORDA MANAGEMENT CORPORATION, 225 FOURTH LLC and JRM
CONSTRUCTION MANAGEMENT, LLC and respectfully refers.all questions of law to the Court,

AS AND FOR AN ANSWER TO
THE SECOND CAUSE OF ACTION

7, Defendant repeats, reiterates and realleges each and every response in paragraphs “1”
through “65”-of the Complaint in-response to"paragraph “66” of the Verifiéd Complaint with the
same force and effect as if fully set forth at length herein.

8. Defendant denies each and every allegation contained in paragraphs.“67" and “73” of
the Verified Complaint as-alleged against defendant FACEBOOK, INC., but denies knowledge or
information sufficient to form: a belief as to the truth of the allegations as alleged. against co-
defendants, ORDA MANAGEMENT CORPORATION, 225 FOURTH LLC and JRM
CONSTRUCTION MANAGEMENT, LLC and respectfully refers all questions of law-te the Court.

9, Defendant denies each and évery allegation contained in paragraphs “68”, “69”,.

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“70”, “74”, “75”, “76” and “77” of the Verified Complaint and respectfully refers all questions of
law to this Honorable Court for its determination.

10. Defendant denies knowledge and information sufficient to form a belief as tothe
truth of the allegations contained in paragraphs “71” and “72” of the: Verified: Complaint.

AS AND FOR AN ANSWER TO
THE THIRD CAUSE OF ACTION

11. Defendant repeats, reiterates and realleges each and every response in paragraphs “1”
‘through “77” of the Complaint in response to paragraph “78” of the Verified Complaint with the
same force and effect as if fully’set-forth at-length herein.

12.  Defendantdenies each and every alle gation contained in paragraphs “79”, “80” and
“83° of the Verified Complaint as alleged against. defendant, FACEBOOK, INC., but denies.
knowledge. or information sufficient:to form a belief as to the truth of the allegations as. alleged
against co-defendants, ORDA MANAGEMENT CORPORATION, 225 FOURTH LLC and IRM
‘CONSTRUCTION MANAGEMENT, LLC, and. respectfully refers all questions of law to this
Honorable Court for its determination.

13. Defendant denies: knowledge and information sufficient to form a belief as to.the

truth of the allegations contained in paragraphs “81” and “82” of the Verified Complaint,

14, Defendant denies each.and every allegation contained in paragraphs “84”, “85” and.
“86” of the Verified Complaint and respectfully réfers all questioris of law to. this Honorable Court
for its determination.

AS AND FOR AN ANSWER TO
THE FOURTH CAUSE OF ACTION

13. Defendant repeats, reiterates and realleges each-and every response in paragraplis “1”

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through “86” of the Complaint in response to paragraph “87” of the Verified Complaint with the
sae force and effect as if fully set forth at length herein.

16. Defendant denies each and every allegation contained in paragraphs “88” and “92”
of the Verified Complaint as alleged against defendant, FACEBOOK, INC., but denies knowledge or
information. sufficient. to form a belief as to the’ truth of the allegations as alleged against co-
defendants, ORDA MANAGEMENT CORPORATION, 225 FOURTH LLC and JRM
CONSTRUCTION MANAGEMENT, LLC, and respectfully refers all questions of law-to:the Court.

17. Defendant denies each and every allegation contained in paragraph “89”, “93”, “94”,
“95” and “96” of the. Verified Complaint and: respectfully refers all questions of law to this
Honorable Court for its determination.

18. Defendant denies.knowledge and information-sufficient to:form a belief as:to the
truth of the allegations contained in paragraphs “90” and “91” of the Verified Complaint.

AS AND FOR A FIRST AFFIRMATIVE DEFENSE

19. Upon. information and belief, whatever damages the plaintiff may have sustained at
the time and‘placé mentioned. in the Verified Complaint were.caused i whole or’in part by. the
culpable conduct of said plaintiff. The amount of.damages recovered, if any, shall therefore be
diminished in the proportion to said culpable conduct attributable to plaintiff.

AS AND FOR A SECOND AFFIRMATIVE DEFENSE

20. In the event plaintiff seeks to recover a verdict or judgment against defendants, then
said verdict or judgment must exclude those amounts which have been, or will, indemnify plaintiff,
for any past or future claimed medical costs, health care, lifé care, or other economic loss or benefit
that is offered, or provided under or in connection with the Patient:Protection and Affordable Care

Act.

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AS AND FOR A THIRD AFFIRMATIVE DEFENSE
21.  Thatthe Verified Complaint herein fails to staté-a cause of action upon which relief
imay be granted.

AS AND FOR A FOURTH AFFIRMATIVE DEFENSE

22. No acts or omissions by defendants were an actual-cause, legal cause, contributing
cause, substantial factor ot proximate cause with respect to. the damages if any; sustained by the.
plaintiff.

AS AND FOR A FIFTH AFFIRMATIVE DEFENSE

23. Inthe event plaintiff recovers a verdict or judgment against answering defendants,
then said: verdict or judgment must be reduced pursuant to CPLR §4545(c) by those amounts which.
have been, or will, with reasonable certainty, replace or indemnify plaintiff, in whole or in part, for
any past or future claimed economic loss, from any collateral source such. as insurarice, social
security,-;workers’ compensation or.employee benefit programs. Defendants affirmatively pleads the
provisions of Section 4545 of the CPLR in limitation and mitigation of the damages sustained by the
plaintiff, if any.

AS AND FOR AN SIXTH AFFIRMATIVE DEFENSE

24, The injuries and damages allegedly suffered by the plaintiff, if any (which injuries
and damages are specifically denied by the answering defendants), were the. result of culpable
conduct or fault of third persons for whose conduct the answering defendants are not legally
responsible, and the damages recovered by the plaintiff, if any, should be diminished or reduced in
the proportion to said culpable conduct of the third persons. Any liability on the part of the
answering defendants (which liability is denied) if found to be fifty percent or less of the total

liability of all persons who. are the ‘cause of the alleged injuries, if any, then the liability of the

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answering defendants for non-economic loss shall not excéed the answering defendants’ equitable
share.determined in accordance with the relative:culpability ofeach person causing or contributing
to the total liability for non-economiic loss pursuant to CPLR Sections 1601 through 1603.

-AS AND FOR A SEVENTH AFFIRMATIVE, DEFENSE

25. Plaintiffhas failed to-mitigate, obviate, diminish or otherwise acttto lessen or reduce
the injuries, damages and disabilities alleged in the Verified Complaint.

AS AND FOR.AN EIGHTH AFFIRMATIVE DEFENSE.

26, Upon information and belief; that plaintiff is batred from-recovering against the
answering defendants.under the Workers Compensation Law.

AS AND FOR A NINTH AFFIRMATIVE DEFENSE

27. The plaintiff's Verified Complaint fails to name the necessary/indispensable parties
to the subject action.

AS AND FOR.A TENTH AF FIRMATIVE DEFENSE

28. The plaintiff'assumed the risk related activity causing the injuries allegedly
sustaitied.

AS AND FOR A ELEVENTH AFFIRMATIVE DEFENSE

29. Answering defendants rely upon the recalcitrant worker defense.
AS AND FOR AN TWELFTH AFFIRMATIVE DEFENSE
30. Plaintiff’s.acts or omissions-were. the sole proximate cause of the alleged accident.
AS AND FOR A THIRTEENTH AFFIRMATIVE DEFENSE
31. New York’s Labor Laws Sections 200, 240 and 241 do not apply to this action, and

alternatively, if they do, plaintiff has failed to allege a violation by the answering. defendants:

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AS AND FOR A FOURTEENTH AFFIRMATIVE DEFENSE

32. All or part of plaintiff's claims are barred by the doctrine of res judicata and/or
collateral estoppel.

AS AND FOR A FIFTEENTH AFFIRMATIVE DEFENSE

33. In the event plaintiff recovers a verdict or judgment against defendants, then said
verdict or judgment must exchade of be. reduced. by those amounts which will, with reasonable
certainty, replace or indemnify plaintiff, in whole.or in part, for any past or future medical costs.
health ‘care, life care. or other economic loss or benefit that is offered or provided under or in
connection with the Patient Protection and Affordable Care. Act.

AS AND FOR A SIXTEENTH AFFIRMATIVE DEFENSE

34. Upon information and belief, plaintiff failed to take reasonable measures to mitigate
the damages allegedly suffered. Accordingly, in the event. that plaintiff recovers a verdict or
judgment against these answering defendants, then said verdict or judgment must be reduced to the
extent’that any of the damages claimed could have but were not reduced based upon plaintiffs failure
to mitigate same.

AS AND FOR.A SEVENTEENTH AFFIRMATIVE DEFENSE

35. — To'the extent that plaintiff failed to obtain coverage available to hit under the
Affordable Care Act as an individual or as a family member, which he is-eligible to obtain, then
plaintiff has failed to: mitigate his damages and cannot recover for such failure.

AS AND FOR AN EIGHTEENTH AFFIRMATIVE DEFENSE

36. To the extent that plaintiff failed to take reasonable. steps to protect himself from.

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medical costs; health care or life caré costs or to avail himself of the resoutces, sérvice benefits and
‘coverage available to him utider the: Affordable Care Act, then plaintiff failed to mitigate. his
damages and cannot recover for such failure,

AS AND FOR A NINETEENTH AFFIRMATIVE DEFENSE

37. With regard to plaintiff's failure to mitigate his damages, the defense will offer proof’
of the-cost of premiums and out-of-pocket: limits that were made available to plaintiff under the
Affordable Care Act, and will offer proof of the medical costs which plaintiff will not:incur under
the Affordable Care Act.

AS AND FOR A TWENTIETH AFFIRMATIVE DEFENSE

38. That ifthe:plaintiff shall have a judgment and/or verdict in his favor over and against
the answering defendants, the answering defendant-shall be entitled to.all rights, remedies and off
sets. in accordance with GOL Article 15. That ifthe plaintiff shall.a judgment and/or verdict entered
in its favor over and against the answering defendants the: judgment and/or verdict shall be
precluded, modified, off-set and/or teduced by any and-all sums or consideration paid or promise to
the plaintiff by any person, corporation or parties claimed to be liable for the injuries and/ot damages.
alleged in.the ‘complaint to the extent of the greater of either the sum or consideration paid or
promise to the plaintiff to the amount of the released tottfeasors’ equitable share of the liability:and
the damages in accordaiice with Article 15 of the General. Obligations Law Section 15-105 and.

Section 15-108,

. AS.AND-FOR A FIRST CROSS:CLAIM AGAINST
CO-DEFENDANTS, ORDA MANAGEMENT CORPORATION, 225 FOURTH LLC and
JRM CONSTRUCTION MANAGEMENT, LLE

39. Upon information and belief, that if and in the-event plaintiff sustained the injuries

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and-damages complained of, such injuries and, damages were caused in whole or in part, by reason
of the culpable conduct. and/or breach of contract of co-defendants, ORDA MANAGEMENT

CORPORATION, 225 FOURTH LLC and JRM CONSTRUCTION MANAGEMENT, LLC.

40. By reason of the foregoing, in the event that-any judgment or verdict'is.recovered

against answering defendant, answering defendant, FACEBOOK, INC.), is entitled to contractual
indemnification from said co-defendants, ORDA MANAGEMENT -CORPORATION, 225
FOURTH LLC and IRM CONSTRUCTION MANAGEMENT, LLC, for all or any verdict or
judgment which plaintiff may recover against this answering defendant.

AS AND FOR A SECOND CROSS-CLAIM AGAINST

CO-DEFENDANTS, ORDA MANAGEMENT CORPORATION, 225 FOURTH LLC
and JRM CONSTRUCTION MANAGEMENT, LLC

41. | Upon information and belief, that if and in the event plaintiff sustained the injuries
and damages.complained of, such injuries and. damages were-caused in whole or in part by reason
of the wrongful conduct of co-defendants, ORDA MANAGEMENT CORPORATION, 225
FOURTH LLC and IRM CONSTRUCTION MAANGEMENT, LLC, there beizig no active or
ptimary wrong-doing on the part of the answering defendants contributing thereto.

42. By reason of the foregoing, this answering defendanits is entitled to full common law
indemnity and/or contribution from; and to judgment over and against co-defendants, ORDA
MANAGEMENT CORPORATION, 225 FOURTH LLC and JRM CONSTRUCTION
MANAGEMENT, LLC, for all or part of any verdict or judgment which plaintiff may recover
against this answering defendant.

AS: AND FOR A THIRD. CROSS-CLAIM AGAINST

CO-DEFENDANTS, ORDA MANAGEMENT CORPORATION, 225 FOURTH LEC and
JRM CONSTRUCTION MANAGEMENT, LLC

43. Upon information and belief, that if and in the event plaintiff sustained the injuries

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and damages complained of, such injuries and damages were caused in whole or in part, by reason
of the culpable conduct and breach of contract of co-defendants, ORDA MANAGEMENT
CORPORATION, 225 FOURTH LLC and JIRM CONSTRUCTION MANAGEMENT, LLC,
including but not limited to, failure to obtain required insurance coverage.

44, By reason of the foregoing, in the event that any judgment or verdict is recovered
against answering defendants, answering defendant, FACEBOOK,INC., is entitled to insurance
procurement from and to judgment over and against said co-defendants, ORDA MANAGEMENT
CORPORATION, 225 FOURTH LLC and JRM CONSTRUCTION MANAGEMENT LLC.

WHEREFORE, defendant, FACEBOOK, INC., demands judgment dismissing the
plaintiff's verified complaint herein, together with the costs and disbursements of the within action,
or in the alternative, in the event that plaintiff recover any verdict and/or judgment against answering
defendants, the answering defendants demand judgment over and against co-defendants ORDA
MANAGEMENT CORPORATION, 225 FOURTH LLC and JRM CONSTRUCTION
MANAGEMENT, LLC, in whole or in part, in accordance with the cross-claims asserted herein,
together with the costs, disbursements and counsel fees incurred in the defense of this action.
Dated: New York, New York

November 21, 2017

Yours, etc.,

i
LEWIS BRISBOIS BISGAARD & SMITH LLP
Nya YO
~Gregory S. Katz
Attorneys for Defendant
FACEDQOK INC.
77 Water Street, 21‘ Floor
New York, New York 10005

(212) 232-1300
Our file: 32386.1574

By:

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TO:

Thomas. J. Moverman, Esq.

LIPSIG, SHAPEY, MANUS & MOVERMAN, P.C.

Attorneys for Plaintiff
Office and P.O.. Address

40 Fulton Street .
New York, New York 10038
(212) 285-3300

BARRY McTIERNAN & MOORE; ESOS.
Attorneys for Defendant

JRM CONSTRUCTION MANAGEMENT, LLC
-2.Rector Street, 15" Floor

New York; NY 10038

(212) 313-3600

No Appearance to. Date:

Orda Management, Corporation
‘225 Park Avenue South

New York, NY 10033

225 Fourth LLC

c/o Orda Management Corporation
225 Park Avenue South

New York, N'Y 10033

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Filed 01/05/18

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ATTORNEY’S VERIFICATION

STATE OF NEW YORK _ )
COUNTY OF NEW YORK ~

GREGORY S. KATZ, being an attorney duly admitted to practice before the Courts of the
State of New York and fully aware of the penalties of perjury, hereby affirms as follows:

Affirmant is a member of the law firm of LEWIS BRISBOIS BISGAARD & SMITH
LLP, attorneys for defendant, FACEBOOK, INC., in the within action and is fully familiar with
the facts and circumstances involved in this matter from reviewing the file regarding the same
maintained in the offices of the said law firm.

Affirmant has read the foregoing Answer, know the contents thereof, and the same are true to
affirmant’s own knowledge, except as to those matters therein stated to be alleged upon information
and belief, and as to those matters affirmant believes them to be true.

This verification is made by the undersigned because said defendant does not reside or have a
place of business within the county where said affirmant’s offices are located.

The grounds of affirmant’s belief as to all matters not stated to be affirmant’s knowledge are

investigative and other information contained in the file of the said law firm.

\7 GREGORY S. KATZ

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Dated: New York, New York
November 21, 2017

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AFFIDAVIT OF SERVICE

STATE OF NEW YORK )

—

SS.:
COUNTY OF NEW YORK _ )

CRYSTAL L. BREWER, being duly sworn, deposes and says: that deponent is not a party to this
action, is over 18 years of age and resides in Kings County in the State of New York.

That on the AY day of November, 2017, deponent served the within document(s) entitled Verified
Answer & Cross-Claims upon:

Thomas J. Moverman, Esq.

LIPSIG, SHAPEY, MANUS & MOVERMAN, P.C.
Attorneys for Plaintiff

Office and P.O. Address

40 Fulton Street

New York, New York 10038

(212) 285-3300

BARRY McTIERNAN & MOORE, ESQS.
Attorneys for Defendant

JRM CONSTRUCTION MANAGEMENT, LLC
2 Rector Street, 15" Floor

New York, NY 10038

(212) 313-3600

No Appearance to Date:

Orda Management, Corporation
225 Park Avenue South

New York, NY 10033

225 Fourth LLC

c/o Orda Management Corporation
225 Park Avenue South

New York, NY 10033

the attorney(s) for the respective parties in this action, at the above address(es) designated by said attorney(s)
for that purpose by depositing same enclosed in a postpaid properly addressed wrapper, in an official
depository under the exclusive care and custody of the United States Post Office within the State of New

” Cnpeal Y. swe

[CRYSTAL L. BREWER

Swoyn to before me this
ay of November, 201%

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mission Expires Nov, 23, 2(

Case 1:18-cv-00100-AJN Document1-2 Filed 01/05/18 Page 36 of 36

NYSCEF - New York County Supreme Court
/) Confirmation Notice

This is-an automated-response for Supreme Court cases. The NYSCEF site has received your
electronically filed documents for the following case.
157305/2017

TOSH HENDERSON - v. - ORDA MANAGEMENT CORPORATION et al

Assigned Judge: Richard Braun
Documents: Received on 11/29/2017.04:42.PM
Doc # Document Type Motion #

21 “ANSWER
Does not'contain an SSN or CPI as defined in 202.5(e) or 206.5(8}

Filing User
‘Name: MATTHEW PETER CUETER

Phone #: 646-783-0975 E-mail Address:  matthew.cueter@!ewisbrisbois:com.
Fax #: Work Address: 77 Water Street.
Suite 2100

NEW YORK, NY 10005

E-mail Notifications
An e-mail notification regarding this filing has been sent‘to the follawing address(es) on
41/29/2017 04:12 PM
CUETER, MATTHEW PETER - matthew.cueter@lewisbrisbois.com
HURLEY, ERIN K - ehurley@lipsig.com
MCTIERNAN JR., ROGER PAUL -pmctiernan@bmmfirm.com
Moverman Esq., Thomas J - tmoverman@lipsig.com

NOTE: If submitting’a working copy of this filing to the court, you must include.
as a notification page firmly affixed thereto a.copy of this Confirmation Notice.

Hori. Miltan. 4, Tingling, New York:County Clerk:and Clerk of the Supreme. Court:
Phone:.646-386-5956 Website: ntfpi/Avww-nycourts.gov/courts/1jd/supetmanh/cotirity_clefk_operations.shtml

NYSCEF Resource Center - EFile@nycourts.gov
Phone: (646) 386-3033 Fax: (212) 401-9146 Website: www.nycourts.gov/efile

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